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                                   STATEMENT OF FACTS

        Your affiant, Stuart M Bronstein is a Special Agent assigned to FBI’s Joint Terrorism Task
Force (JTTF) in Cincinnati, Ohio, Columbus Resident Agency. In my duties as a special agent, I
investigate International and Domestic Terrorism Offenses. Currently, I am a tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 9, 2021, a concerned citizen, C-1 provided a tip to the FBI that Facebook
User “Derek Jancart” posted on Facebook images from the Capitol riot inside the U.S. Capitol
Building, specifically, a photograph from outside the Office of the Speaker conference room.
The Facebook post (shown in Photo 6, below) was captioned “we’re in”. C-1 is a former co-
worker of DEREK JANCART.

        On February 9, 2021, during a follow up interview, C-1 was shown the below
photographs which included screen captures from Metropolitan Police Department body worn
camera and Capital Building Security Camera footage (including Photos 1 through 5, below).
Also included was a picture of the original screen capture provided in C-1’s complaint. C-1
positively identified DEREK JANCART in each picture as well as his/her original submission to
the FBI.




                                              Photo 1
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                           Photo 2




                           Photo 3
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                           Photo 4




                           Photo 5
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                                 Photo 6 – Facebook Screenshot

        On February 10, 2021, a concerned citizen, C-2, a family member of DEREK
JANCART, was interviewed and advised that he/she provided a tip to the FBI (01/10/21), that
his/her family member, DEREK JANCART, was at and inside the U.S. Capitol during the events
of January 6, 2021. C-2 received a phone call from another family member, who advised that
DEREK JANCART was inside the Capitol building. C-2 contacted DEREK JANCART via text
message. Your affiant has reviewed the text message exchange between C-2 and DEREK
JANCART, and saw that DEREK JANCART confirmed his presence inside of the Capitol. C-2
was shown the above photographs and positively identified DEREK JANCART in all
photographs except for Photo 2, above. C-2 also positively identified the Facebook post in front
of the Office of the Speaker conference room as the post from JANCART’S Facebook account.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
DEREK JANCART violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
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visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that DEREK JANCART
violated 40 U.S.C. § 5104(e)(2)(D) and (G) which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                               _________________________________
                                               Stuart Bronstein
                                               Special Agent
                                               Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 22nd day of February 2021.
                                                              Digitally signed by G.
                                                              Michael Harvey
                                                              Date: 2021.02.22
                                             ___________________________________
                                                              09:09:54 -05'00'
                                             HONORABLE G. MICHAEL HARVEY
                                             UNITED STATES MAGISTRATE JUDGE
